         Case 22-60043 Document 247 Filed in TXSB on 10/21/22 Page 1 of 1
                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                           October 21, 2022
                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                                    Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                                         §
                                               §               Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                      §
                                               §               Chapter 11 (Subchapter V)
       Debtor                                  §

          ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
                   FOR CONNECTICUT PLAINTIFFS1

       CAME ON to be considered the Motion to Withdraw as Counsel for Connecticut

Plaintiffs filed on behalf of Byman & Associates PLLC and including withdrawal of its

individual attorney Randy W. Williams.               After consideration of the motion and

representations by Movant, responses and objections, if any, and argument of counsel, if

any, the Court finds the Motion meritorious. It is, therefore,

       ORDERED that Movant Byman & Associates PLLC and its individual attorney

Randy W. Williams are permitted to withdraw as counsel on behalf of Connecticut

Plaintiffs. It is further

       ORDERED that that following individual attorney be removed from notifications

for this proceeding from the Court’s CM/ECF filing system: Randy W. Williams,

rww@bymanlaw.com.


Dated: _____________ ___, 2022
            August21,
            October 02,2022
                        2019

                                               UNITED STATES BANKRUPTCY JUDGE




1Connecticut Plaintiffs are David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-
Marino, William Aldenberg, William Sherlach, and Robert Parker.



ORDER—PAGE 1
